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    9
   10                               UNITED STATES DISTRICT COURT
   11                              CENTRAL DISTRICT OF CALIFORNIA
   12                                    WESTERN DIVISION
   13
   14
         BASF CORPORATION, et al.,                 Case No. 2:14-cv-06456 GW (Ex.)
   15
                     Plaintiffs,                   PLAINTIFFS’ OPPOSITION TO
   16                                              DEFENDANTS’ REQUEST FOR
         v.
   17                                              APPOINTMENT OF SPECIAL
         APC INVESTMENT CO., et al.,               MASTER AND REQUEST TO SET
   18                                              HEARING DATE ON PENDING
                     Defendants.
   19                                              SUMMARY-JUDGMENT MOTIONS
   20                                              Judge: Hon. George H. Wu
   21
   22    AND RELATED CROSS ACTIONS,
         COUNTERCLAIMS AND THIRD-
   23    PARTY COMPLAINTS
   24
   25
   26
   27
   28


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    1           Plaintiffs BASF Corporation et al. (“Plaintiffs”) oppose Defendants’ Request
    2   for Appointment of Special Master for Settlement (the “Request”) and ask the
    3   Court to reset the hearings on the pending motions for summary judgment and
    4   partial summary judgment, in accordance with the schedule set out below,
    5   beginning on February 14, 2022.
    6   I.      INTRODUCTION
    7           This environmental suit was filed over seven years ago, in August 2014.
    8   Since then, Plaintiffs have made multiple attempts to explore settlement with
    9   Defendants. Those efforts have paid off in the case of former Defendants Mission
   10   Linen, Pilot Chemical, and Burke Street, and Plaintiffs are close to finalizing a
   11   fourth settlement with Defendant Powerine Oil Company. However, past attempts
   12   to settle with the remaining Defendants have gone nowhere.
   13           Still, Plaintiffs have spent the last several months attempting, yet again, to
   14   find a way to resolve their dispute with Defendants. As described below, those
   15   efforts have made little progress. In fact, of the 19 Defendants that received a
   16   settlement demand from Plaintiffs during this latest round of settlement discussions,
   17   only 3 Defendants were serious enough about settling this case to muster the effort
   18   to provide a counteroffer. And even then, the counteroffers were woefully
   19   inadequate.
   20           Defendants believe the solution to this impasse is the appointment of a
   21   special master for settlement. However, they offer no credible explanation as to
   22   why such an appointment would somehow prove to be successful. Nor can they.
   23   Their current recalcitrance to engage meaningfully in exploring settlement shows
   24   no signs of abating and is not the result of any lack of effort on Plaintiffs’ part or a
   25   need for assistance from a third party. The parties already enjoy such assistance
   26   from no less than the federal government and a private mediator of Defendants’
   27   own choosing.
   28           Plaintiffs will continue their current settlement discussions with any

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    1   Defendant that is truly interested and serious about resolving their liability. But
    2   Plaintiffs intend to move forward with their case. Plaintiffs ask the Court to proceed
    3   with hearings on the pending summary-judgment motions and set them for no later
    4   than February. Plaintiffs have been waiting long enough to obtain contribution from
    5   Defendants for the tens of millions of dollars Plaintiffs have incurred, and the tens
    6   of millions more they will incur, to address the OU-2 groundwater contamination
    7   for which Defendants are also responsible.
    8   II.      ARGUMENT
    9            A.     Appointment of a Special Master for Settlement Would Not Be
   10                   Productive at This Time
   11                   1.      There has been little progress in settlement discussions.
   12            On May 13, 2021, at the parties’ request, this Court reset the hearings on the
   13   pending summary-judgment motions to accommodate settlement discussions
   14   between Plaintiffs and Defendants. Plaintiffs quickly moved to secure
   15   confidentiality agreements from Defendants to promote frank discussions. A few
   16   Defendants quickly signed the agreement, but many others dawdled. A few refused
   17   to sign an agreement unless Plaintiffs agreed to Defendants’ proposed structure for
   18   the talks or agreed to use Defendants’ choice for a private mediator.
   19            Plaintiffs acceded to several of these demands to break the impasse and move
   20   the process forward. Although settlement discussions with some Defendants had
   21   already begun, the final agreement with the holdout Defendants was not executed
   22   until August—three months after the Court paused the litigation to accommodate
   23   settlement talks and only one month before the rescheduled summary-judgment
   24   hearings.
   25            Plaintiffs provided a lengthy and detailed presentation to each Defendant
   26   regarding the context and rationale underlying Plaintiffs’ settlement demand.1
   27
   28   1
            In two instances, at the insistence of certain Defendants associated with a single source

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    1   Plaintiffs did not simply write a dollar figure on a piece of paper and slide it across
    2   the table. The presentations were prepared at significant expense to Plaintiffs in
    3   time, effort, and money. Plaintiffs also provided supplemental briefings, more than
    4   once, to numerous Defendants that had follow-up questions.
    5           Attorneys with the United States Environmental Protection Agency and
    6   Department of Justice have joined the settlement discussions with five of the
    7   Defendants. The role of the federal government in these discussions has been
    8   important given its oversight role at the Omega Chemical Superfund Site, its
    9   selection of the containment remedy required under the 2017 OU-2 Consent Decree
   10   approved by this Court, and its strong interest in seeing that the parties responsible
   11   for environmental contamination at Superfund sites generally, and for the
   12   groundwater contamination at OU-2 specifically, contribute to the costs to address
   13   that contamination.
   14           Plaintiffs have engaged the use of a private mediator in discussions with all
   15   but two of the remaining Defendants.2 As noted, Plaintiffs acceded to Defendants’
   16   choice for mediator as an act of good faith and to move the process forward.
   17           Despite the efforts by Plaintiffs, the federal government, and the private
   18   mediator, there has been little progress in settlement talks between Plaintiffs and
   19   Defendants. Indeed, of the 19 Defendants with whom Plaintiffs have engaged in
   20   settlement discussions since last May, only 3 have provided counteroffers.
   21                 2.     There is no merit to Defendants’ contention that the lack of
   22                        progress in settlement discussions is due to a lack of transparency.
   23           Defendants argue that the lack of progress in the parties’ settlement
   24   discussions is due to Plaintiffs’ insistence that negotiations be conducted separately
   25
        property, Plaintiffs made the presentation to that group of Defendants.
   26   2
          Discussions between Plaintiffs and those two Defendants broke down almost immediately
   27   after those Defendants insisted, as a condition to discussing settlement, that Plaintiffs agree
   28   to certain terms.

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    1   with each individual Defendant.3 According to Defendants, if Plaintiffs met with
    2   Defendants as a group, Defendants would somehow be able to present a
    3   counteroffer to Defendants that would result in a “global settlement.” Defendants
    4   made the same argument in May, when Plaintiffs approached them about exploring
    5   settlement after the parties had finished briefing the pending summary-judgment
    6   motions. However, Defendants have never offered any explanation, not last May
    7   and not now, why group discussions would be more conducive to settlement.
    8           Plaintiffs are unaware of any circumstances or conditions which would
    9   necessitate group settlement discussions or otherwise make such discussions a more
   10   productive alternative. Defendants are not all affiliates of one another; they are not
   11   all associated with the same source property; and they share no connection to one
   12   another except that they are all current or former owners of a facility from which,
   13   Plaintiffs contend, there were releases of hazardous substances to OU-2
   14   groundwater.
   15           Indeed, Defendants’ contention that individual settlement discussions are not
   16   conducive to settlement is belied by the fact that Plaintiffs have already settled with
   17   three other Defendants in this action and are in the process of finalizing their
   18   settlement with a fourth.4 All of these settlements were negotiated individually with
   19   each of these four settling Defendants.
   20           Defendants’ Request also makes no mention of the fact that Plaintiffs have
   21   already twice explored settlement with Defendants as a group. Both efforts yielded
   22
        3
   23    As noted above, the premise of Defendants’ argument is false. Plaintiffs are meeting
        collectively with certain subgroups of Defendants associated with the same source
   24   properties.
   25   4
         This Court approved Plaintiffs’ settlement, over the objection of the current Defendants,
   26   with Defendants Mission Linen, Burke Street, and Pilot Chemical. Plaintiffs have also
        agreed to settle with Defendant Powerine Oil Company and former Defendant Lakeland
   27   Development and are merely waiting to obtain approval by the Bankruptcy Court of the
   28   settlement given Lakeland’s bankruptcy.

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    1   even less progress than the present effort. To be clear, Plaintiffs are not
    2   categorically ruling out all joint settlement meetings in the future. There may come
    3   a time when it would make sense to meet collectively with all Defendants. But now
    4   is not that time.
    5                 3.     Appointment of a settlement master is not the answer to the
    6                        current the lack of progress in the parties’ settlement discussions.
    7           Plaintiffs have provided Defendants ample opportunity to find a way to
    8   resolve the parties’ dispute. And it is not the case here that the parties have
    9   exchanged multiple offers and counteroffers, but they are simply too far apart to
   10   bridge the gap. As indicated, only 3 of the 19 Defendants have presented a
   11   counteroffer to Plaintiffs’ settlement demand.5 Thus, Plaintiffs fail to see any basis,
   12   and the Request provides none, for concluding that Defendants would suddenly be
   13   inclined to provide a counteroffer upon appointment of a settlement master when
   14   the vast majority of Defendants have thus far refused to provide one.
   15           Appointment of a special master would do little more than increase the costs
   16   and cause further delay. Selection of the special master would likely take weeks if
   17   the pace of obtaining confidentiality agreements from Defendants is any guide. The
   18   parties would then need to brief the special master concerning the background of
   19   this case, the claims and defenses asserted, and the issues currently being litigated
   20   via the pending summary-judgment motions. Plaintiffs would also need to brief the
   21   special master concerning the basis for Plaintiffs’ settlement demands.
   22           Given how little progress has been made in settlement talks over the last
   23   eight months, Plaintiffs have no confidence that the time, effort, and cost involved
   24   in conducting settlement negotiations before a special master would yield
   25   significant progress.
   26   5
         One of those offers was so disingenuous that it was rejected out of hand and that
   27   Defendant has done nothing in the intervening months to present a more suitable
   28   counteroffer.

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    1           Plaintiffs also note that settlement discussions before a special master would
    2   come at the cost of losing the federal government’s participation in those
    3   discussions. The government is not a party to this action and thus cannot be
    4   compelled to participate in discussions before a special master appointed in this
    5   case. Further, the government has already advised Plaintiffs that it will not
    6   participate in discussions before a special master in a matter in which it is not a
    7   party. Plaintiffs believe that the federal government, given its statutory interest in a
    8   fair settlement, is an important participant in these discussions.
    9           Whether appointment of a special master for settlement purposes may be
   10   appropriate in this case at some time in the future, Plaintiffs take no position. But
   11   that time is not now. Accordingly, Plaintiffs respectfully submit that the Court
   12   should deny Defendants’ request for appointment of a special master.
   13           B.      The Court Should Reset the Hearings on the Pending Motions
   14           Given the bleak prospect for reaching settlement with any Defendant over the
   15   next several months, Plaintiffs are prepared to move forward in prosecuting their
   16   contribution case. Currently pending before the Court are motions for summary
   17   judgment and partial summary judgment brought by both Plaintiffs and Defendants.
   18   Those motions are:
   19                1. Plaintiffs Brief No. 1 On Common Issues of Law
   20                2. Plaintiffs’ Motion for Partial Summary Judgment as to CERCLA Liability
   21                   against Defendants associated with the following source properties:
   22                      a. Phibro-Tech Source Property;6
   23                      b. Associated Plating Source Property7
   24
        6
   25    The Defendants associated with the Phibro-Tech Source Property are: Phibro-Tech, Inc.,
        First Dice Co., and Union Pacific Railroad Co.
   26   7
         The Defendants associated with the Associated Plating Source Property are Associated
   27   Plating Co., APC Investment Co. Darrell Golnick, Clare Golnick, Cheryl Golnick, Gordon
   28   McCann, Lynnea McCann, and Associated Plating Co., Inc.

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    1                      c. Earl Mfg. Source Property;8
    2                      d. Chrysler Source Property;9
    3                      e. Patsouras Source Property.10
    4                3. Defendant Union Pacific Railroad Co.’s Motion for Summary Judgment as to
    5                   CERCLA Liability;
    6                4. Defendants Halliburton Affiliates, LLC’s Palley Supply Co.’s and Kekropia,
    7                   Inc.’s Motion for Summary Judgment as to CERCLA Liability; and
    8                5. Defendants PMC Specialty Group, Inc.’s and Ferro Corp.’s Motion for
    9                   Summary Judgment as to CERCLA Liability.
   10           Plaintiffs ask the Court to reset the January 31, 2022 hearing on these
   11   motions in accordance with the following schedule.
   12
   13                      Hearing Date                         Motion / Property
   14                                                Brief No. 1 – Legal Standards
                 February 14, 2022
                                                     Phibro-Tech
   15
                                                     Associated Plating
   16            February 28, 2022
                                                     Earl Mfg. Co., Inc.
   17
                 March 7, 2022                       Chrysler
   18                                                PMC
                 March 21, 2022
   19                                                Patsouras
   20           The schedule set out above promotes efficient management of multiple
   21
        8
   22    The Defendants associated with the Earl Mfg. Source Property are Earl Mfg. Co., Inc. and
        Claudette Earl.
   23
        9
          The Defendants associated with the Chrysler Source Property are Union Pacific Railroad
   24   Co. and Palmtree Acquisition Corp. (“Palmtree”). However, Defendant Palmtree has
   25   stipulated to facts supporting a judgment as to CERCLA liability and is not, therefore, a
        party to the pending motions.
   26   10
           The Defendants associated with the Patsouras Source Property are Kekropia, Inc.,
   27   Haliburton Affiliates, LLC, and Palley Supple Company. However, Plaintiffs have chosen
   28   to move against only one of these Defendants at this time, Kekropia, Inc.

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    1   hearings concerning multiple properties and parties, conserves resources, and
    2   promotes efficiencies and judicial economy in several respects. First, hearing all
    3   motions involving six separate source properties and almost two dozen Defendants
    4   on the same day, during the same hearing, would prove to be an unwieldy and
    5   protracted hearing. By contrast, the schedule set out above allows the parties and
    6   the Court to proceed in an orderly fashion and affords ample time for the parties to
    7   address the Court’s questions without engaging in a marathon hearing on all
    8   motions.
    9           Second, grouping the pending motions by property (versus by Defendant)
   10   allows the parties and the Court to address all common issues associated with a
   11   single source property during a single hearing. To be clear, all motions associated
   12   with the same source property would be heard the same day, regardless of who is
   13   the moving party. For example, under the proposed schedule, Plaintiffs’ partial-
   14   summary judgment motion against Union Pacific involving the Chrysler Source
   15   Property and Union Pacific’s motion for partial summary judgment against
   16   Plaintiffs involving that same property would be argued during the same hearing.
   17           Third, the order in which the motions will be heard under the proposed
   18   schedule promotes efficiencies.
   19                 Brief No. 1 sets out the elements of CERCLA liability and the evidentiary
   20                   burden in establishing those elements, issues which apply to all Defendants.
   21                   Similarly, the issues argued by the Defendants associated with the Phibro-
   22                   Tech Source Property are representative of many of the same issues argued
   23                   by other Defendants. Given this, Plaintiffs propose that these submissions be
   24                   heard first.
   25                 Operations conducted at both the Associated Plating and Earl Mfg. Source
   26                   Properties involved metal plating. Additionally, Defendants associated with
   27                   those properties have raised similar defenses to Plaintiffs’ partial summary-
   28                   judgment motions. Given these legal and factual similarities, Plaintiffs

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    1                   propose that the motions involving these two source properties be heard on
    2                   the same day.
    3                 Under the proposed schedule, the motions involving the Chrysler Source
    4                   Property would be heard separately from any other motion, because the
    5                   motions involving the Chrysler Source Property present unique issues
    6                   concerning Union Pacific’s former ownership of that property that have not
    7                   been raised in any of the other pending motions.
    8                 The PMC and Patsouras Source Property Defendants have asserted
    9                   conceptually similar arguments concerning whether releases of hazardous
   10                   substances at their properties have impacted OU-2 groundwater. Further,
   11                   these Defendants have filed their own affirmative motions for summary
   12                   judgment on the issue of liability. As such, the summary-judgment motions
   13                   involving these two properties will be heard on the same day under the
   14                   proposed schedule.
   15   III.    CONCLUSION
   16           For the reasons set forth above, Plaintiffs respectfully submit that the Court
   17   should deny Defendants’ request to appoint a special master for settlement and reset
   18   the hearings on the pending summary-judgment and partial summary-judgment
   19   motions in accordance with the schedule set out above.
   20
   21
   22
   23    DATED: January 21, 2022                    LATHROP GPM LLP

   24
   25                                        By:           /s/ Nancy Sher Cohen
   26                                               Nancy Sher Cohen
                                                    Attorneys for Plaintiffs BASF Corporation et al.
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